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             OR\G\NAL                                                      FILED IN THE
                                                                   UNITED STATES DISTRICT COURT
                                                                       DISTRICT OF HAWAII
        Peter Strojnik,
        784 7 N. Central Ave.                                                 MAR 14 2019
    2   Phoenix, Arizona 85 020                                    at~o'clock and;o min.-9-M
    3   Telephone: (602) 524-6602                                     SUE BEITIA, CLERK LJ
        ps@strojnik.com
    4   prose
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                                      UNITED STATES DISTRICT COURT
    6                                                     3 EK
                                           DISTRICT OF HAWAII     c:.
    7                                             CV 9 001 uL
                                                            Case No:
    8                                                                      CLASS ACTION
         Peter Strojnik,                                                    COMPLAINT
    9
                                               Plaintiff,   I. Americans      with Disabilities
   10
                                                                  Act
   11                                                       2.    Discrimination    in  Public
                                    vs.                           Accommodations (State Law)
   12
                                                            3.    Nondisclosure
   13    Granite Fund TV LLC dba Hotel Wailea,              4.    Consumer Fraud
         Realis & Chateaux                                  5.    Negligence per se
   14
                                                                    JURY TRIAL REQUESTED
   15
                                             Defendant.
   16

   17   Plaintiff brings this class action pursuant to the (l) Americans with Disabilities Act, 42

   18   U.S.C. §12101 et seq. and corresponding regulations, 28 CFR Part 36 and ADAAG

   19   ("ADA"), (2) Chapter 489 of the Hawai'i revised statutes, Chapter 489, Discrimination
        in Public Accommodations §§489- 1 et seq ("HRS"),                    (3) Nondisclosure Santiago v.
   20
        Tanaka, 366 P.3d 612, 624 (Hi. 2015), (4) Misrepresentation, id.                      (5) Consumer Fraud
   21
        HRS Chapter 480 and ( 6) common law of negligence per se.
   22
                                                 PARTIES
   23
        1. Plaintiff is an ADA Tester.
   24
        2 . Plaintiff is a veteran of the US Army 1 and a disabled person as defined by the ADA
   25
           and HRS Chapter 489. Plaintiff is a single man cuffently residing in Maricopa County,
   26
           Arizona. Plaintiff is and, at all times relevant hereto has been, legally disabled by
   27

   28
        DMZ '72- ' 73                                            f.sc.   Pl'~
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    1       virtue of a severe right-sided neural foraminal stenosis and femoral neuropathy,
    2       prostate cancer and renal cancer, degenerative right knee and is therefore a member
    3       of a protected class under the ADA and HRS Chapter 489.
    4    3. Plaintiff suffers from physical impairments described above which impairments

    5       substantially limit his major life activities. Plaintiff walks with difficulty and pain

    6       and   requires   compliant mobility       accessible features   at   places of public
    7       accommodation. Plaintiffs impairment is constant, but the degree of pain is episodic
    8       ranging from dull and numbing pain to extreme and excruciating agony.

    9    4. Defendant owns, operates, leases or leases to a lodging business ("Hotel") located at
   10       555 Kaukahi St., Wailea, Kihei HT 96753 which is a public accommodation pursuant

    l1      to42 U.S.C. § 1218 1(7)(A).

   12                               JURISDl CTION AND VENUE

   13    5. District Cou1t has jurisdiction over this case or controversy by virtue of 28 U.S.C. §§
            28-1331and42 U.S.C. § 12188 and 28 U.S.C. § 1367.
   14
         6. Plaintiff brings this action as a private attorney general who has been personally
   15
            subjected to discrimination on the basis of his disability, see 42 U.S.C.12188 and 28
   16
            CFR §36.501.
   17
         7. This Coutt has continuing subject matter jurisdiction by virtue of, inter alia,
   18
            Plaintiffs claim for equitable nominal damages.
   19
         8. Venue is proper pursuant to 28 U.S.C. § 1391.
   20
         9. The ADAAG violations in this Complaint relate to barriers to Plaintiffs mobility. This
   21
            impairs Plaintiffs full and equal access to the Hotel which, in turn, constitutes
   22       discrimination satisfying the "injury in fact" requirement of Article IIT of the United
   23       States Constitution.
   24    10. Plaintiff is deterred from visiting the Hotel based on Plaintiffs knowledge that the
   25       Hotel is not ADA or State Law compliant as such compliance relates to Plaintiff's

   26       disability.

   27    11. Plaintiff intends to visit Defendant's Hotel at a specific time when the Defendant's

   28       noncompliant Hotel becomes fully compliant with ADA; just as a disabled individual



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     1      who intends to return to a noncomplian t facility suffers an imminent injury from the
    2       facility's existing or imminently threatened noncomplian ce with the ADA, a plaintiff

    3       who is deterred from patronizing a hotel suffers the ongoing actual injury of lack of

    4       access to the Hotel.
                                   CLASS ACTION ALLEGATI ONS
    5
    6    12. Pursuant to Federal Rule of Civil Procedure 23, Plaintiff seeks to represent a class of
     7      Plaintiffs defined as fo llows: All disabled persons who lodged, intended to lodge in the

     8      past, or intend to lodge at Defendant's Hotel in the future.

     9   13. The Classes comprise of many consumers throughout the nation. The Class is so
            numerous that joinder of all members of the Class is impracticable. There are questions
    10
            of law and fact common to the Class. The common questions include:
    11
            A. whether Defendant's alleged conduct violates public policy; and
    12
            B. Whether Defendant violated (I) Americans with Disabilities Act, 42 U.S.C.
    13
                §12101 et seq. and correspondin g regulations, 28 CFR Pait 36 and ADAAG
    14
                ("ADA"), (2) Chapter 489 of the Hawai 'i revised statutes, Chapter 489,
    15
                Discriminatio n in Public Accommodations §§489-1 et seq ("HRS"), (3)
    16
                Nondisclosur e Santiago v. Tanaka, 366 P.3d 612, 624 (Hi. 2015), (4)
    17          Misrepresent ation, id.    (5) Consumer Fraud HRS Chapter 480 and (6)
    18          common law of negligence per se.
    19      C. Whether the alleged conduct constitutes violations of the laws asse1ted
    20          herein ; and

    21      D. Whether Plaintiff and Class Members have sustained monetary loss and the

    22          proper measure of that loss; and

    23      E. Whether Plaintiff and Class Members are entitled to an award of punitive
                damages; and
    24
            F. Whether Plaintiff and Class Members arc entitled to declaratory and
    25
                injunctive relief; and
    26
            G. Whether Plaintiff and Class Members are entitled to the relief sought here.
    27
         14. Plaintiff's claims are typical of the claims of the proposed Class, and plaintiff will
    28
             fairly and adequately represent and protect the interests of the proposed Class. Plaintiff

                                                    3
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     1      does not have any interests antagonistic to those of the Class. Plaintiff has been a

     2      lawyer licensed by the State Bar of Arizona for a period of between 1980 and 2018

     3      when he resigned because his "continuing association with the State B ar is inconsistent

     4      with [his] core principles of morality and fair play". Although Plaintiff is competent
            and experienced in the prosecution of this type of litigati on, he intends to conduct this
     5
            litigation until the issue relating to the certification of the class at which time Plaintiff
     6
            intends to engage competent counsel to wrap it up. The questions of law and fact
     7
            common to the Class Members, some of which are set out above, predominate over
     8
            any questions affecting only individual Class Members.
     9
         15. A class action is superior to other available methods for the fair and efficient
    10
            adjudication oCthis controversy. The expense and burden of individual litigation would
    11
            make it impracticable or impossible for proposed Class Members to prosecute their
    12      claims individually. The trial and the litigation of Plaintiff's claims are manageable.
    13   16. Unless a class is certified, Defendant will retain monies received as a result of its
    14      conduct that was taken from plaintiff and proposed Class Members. Unless a class-
    15      wide injunction is issued, Defendant will continue to commit the violations alleged,

    16      and the Members of the Class and the general public will continue to be misled.

    17   17. Defendant has acted and refused to act on grounds generally applicable to the Class,

    18      making appropriate final injunctive relief' with respect to the Class as a whole.

    19                                           COUNT I
                          (Violation of Plaintiff's Civil Rights under the ADA)
    20
         18. Plaintiff reallcges all allegations heretofore set forth.
    21
         19. By virtue of his disability, Plaintiff requires an ADA compliant lodging facility
    22
            particularly applicable to his mobility, both ambulatory and wheelchair assisted.
    23
         20. Plaintiff intended to vacation in Hawai'i and therefore, reviewed vacation booking
    24
            websites as documented in Addendum A.
    25
         21. Plaintiff beeame aware lhat third party booking websites disclosed general availability
    26      and description of Defondant's Hotel. Third Party booking websites referenced here
    27      are more fully documented in Addendum A which is by this reference incorporated
    28      herein.


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     1   22. Third party booking websites failed to identify and describe mobility related
     2      accessibility features and guest rooms offered through its reservations service in

     3      enough detail to reasonably permit Plaintiff to assess independently whether

     4      D efendant' s Hotel m eets his accessibility needs as more fully documented in
            Addendum A.
     5
         23. Third party booking websites also failed to make reservations for accessible guest
     6
            rooms available in the same manner as individuals who do not need accessible rooms.
     7
            See Addendum A.
     8
         24. Thereafter, Plaintiff became aware that Defendant's        1st   party booking website failed
     9
            to identify and describe mobility related accessibility features and guest rooms offered
    10
            through its reservations serv ice in enough detail to reasonably permit Plaintiff to
    11
            assess independently w hether Defendant' s Hotel meets his accessibility needs as more
    12      fully documented. See Addendum A.
    13   25. Plaintiff also became aware that Defendant' s   1st   party booking website failed to make
    14      reservations for accessible guest rooms available in the same manner as individuals
    15      who do not need accessible rooms. See Addendum A.
    16   26. Because third and first party booking agents failed to identify and describe mobility

    17      related accessibility features and gues t rooms offered through its reservations service

    18      in enough detail to reasonably permit Plaintiff to assess independently whether

    19      D efendant' s H otel meets his accessibility needs Plaintiff declined to book a room
            there and because Pla intiff was unable to make reservations for accessible g uest
    20
            rooms available in the same manner as individuals who do not need accessible rooms,
    21
            Plaintiff declined to book a room there.
    22
         27. The gist of the requirement of 28CFR§28.302(e) is the requirement that a place of
    23
            lodg ing, such as Defendant Hotel, disclose both the accessible e lements but, more
    24
            imp01tantly, inaccessible elements of the place of lodging; w ithout a description of
    25
            inaccessible mobility elements, Defendant fails to comply with 28CFR§28.302(e) as a
    26      matter of law.
    27   28. Pla intiff personally experienced architectural baiTicrs to accessibility as documented
    28      in Addendum A.


                                                   5
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         29. Defendant has violated the ADA by denying Plaintiff equal access to its public
     2      accommodation on the basis of his disability as outlined above and in Addendum A.
     3   30. The ADA violations described in Addendum A relate to Plaintiffs disability and
     4      interfere with Plaintiff's full and complete enjoyment of the Hotel.
     5   31. The removal of accessibility barriers listed above is readily achievable.
     6   32. As a direct and proximate result of ADA Violations, Defendant's failure to remove

     7      accessibility barriers prevented Plaintiff from equal access to the Defendant's public

     8      accommodation.
         WHEREFORE, Plaintiff prays for all relief as follows:
     9
                A. For class action certification on this Count.
    10
                B. Relief described in 42 U.S.C. §2000a - 3; and
    11
                C. Relief described in 42 U.S.C. § 12188(a) and (b) and, paiticularly-
    12
                D. Injunctive relief order to alter Defendant's place of public accommodation to
    13
                    make it readily accessible to and usable by ALL individuals with disabilities;
    14
                    and
    15
                E. Requiring the provision of an auxiliary aid or service, modification of a
    16              poJicy, or provision of alternative methods, to the extent required by
    17              Subchapter Ill of the ADA; and
    18          F. Equitable nominal damages; and
    19          G. For costs, expenses and attorney's fees; and
    20          H. All remedies provided for in 28 C.F.R. 36.50l(a) and (b).
    21                                          COUNT II
                             (Violation of the Hawai'i's Chapter 489, Part I)
    22

    23   33. Plaintiff realleges all allegations heretofore set forth.
    24   34. Defendant has violated Hawai'i's Chapter 489 Part l by denying Plaintiff equal access
    25      to its public accommodation on the basis of his disability as outlined above and in
    26      Addendum A.
    27   35. Plaintiff has been injured by the unlawful discriminatory practices alleged in this
    28      Complaint.


                                                     6
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     1   36. Pursuant to HRS §489-7.5, Plaintiff is entitled to -

     2      •   Sue for damages sustained, and, if the judgment is for the plaintiff, the plaintiff

     3          shall be awarded a sum not less than $1,000 or threefold damages by the plaintiff

     4          sustained, whichever sum is the greater, and reasonable attorneys' fees together
     5          with the costs of suit, and

     6      •   Bring proceedings to enjoin the unlawful discriminatory practices, and if the

     7          decree is for the plaintiff, the plaintiff shall be awarded reasonable attorneys' fees
     8          together with the cost of suit.

     9   37. Plaintiff is deterred from visiting the Hotel and is thereby suffering daily actual and
    l0      statutory damages.

    11   WHEREFORE, Plaintiff demands judgment against Defendant as follows:

    12      A. For class action certification on this Count.

    13      B. A Declaratory Judgment that at the commencement of this action Defendant was
    14          in violation of the s pecific requirements of the statute; and

    15      C. A permanent injunction which directs Defendant to take all steps necessary to
    16          bring its Hotel into full compliance with the requirements set forth in HRS, and its

    17          implementing regulations, so that the facilities are fully accessible to, and

    18          independently usable by, disabled individuals as required by law, and which

    19          further directs that the Court shall retain jurisdiction for a period to be determined
    20          after Defendant ce1tifies that its facilities are fully in compliance with the relevant

   21           requirements of the Statutes to ensure that Defendant has adopted and is following

   22           an institutional policy that will in fact cause Defendant to remain fully in
    23          compliance with the law; and

   24       D. The payment of costs of suit including attorney's fees and expenses; and

   25       E . Order closure of the Defendant's Hotel until Defendant has fully complied with
   26           the ADA and HRS; and

    27      F. For damages in an amount no less than $1,000.00 per violation per encounter per

    28          Class Member per day; and


                                                    7
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     1        G. For treble damages pursuant to HRS §489-7.S(c).

    2         H. The provision of whatever other relief the Couit deems just, equitable and

     3            appropriate.

    4                                           COUNT HI
                            (Nondisclosure - Restatement (Second) of Torts §551)
     5

     6   38. Plaintiff realleges l:lll allegations heretofore set forth.

     7   39. ln Hawai'i, claims for nondisclosure are governed by the Restatement (Second) of
               Torts§ 551 (Am. Law Inst. 1977)2 •
     8
         40. Defendant Hotel is subject to the requirements of 28 CFR §36.302 3 .
     9
         2
    10       Restatement of Torts: 551. Liability For Nondisclosure

    11   (I) One who fails to disclose to another a fact that he knows may justifiably induce the other to
             act or refrain from acting in a business transaction is subject to the same liability to the other
    12       as though he had represented the nonexistence of the matter that he has failed to disclose, if,
             but only it~ he is under a duty to the other to exercise reaso nable care to disclose the matter in
    13       question.
         (2) One party to a business transaction is under a duty to exercise reasonable care to disclose to
    14
             the other before the transaction is consummated,
    15       (a) matters known to him that the other is entitled to know because o f a fiduciary or other
                 similar relation of trust and confidence between them ; and
    16       (b) matters known to him that he knows to be necessary to prevent his partial or ambiguous
                 statement of the facts from being misleading; and
    17       (c) s ubsequently acquired information that he knows will make untrue or misleading a
                 previous representation that when made was true or believed to be so; and
    18
             (d) the fa lsity of a representation not made with the expectation that it would be acted upon,
    19           if he subsequently learns that the other is about to act in reliance upon it in a transaction
                 with him; and
    20       (e) facts basic to the transaction, if he knows that the other is about to enter into it under a
                 mistake as to them, and lhat the other, because of the re lations hip between them, the
    21           customs of the trade o r other objective circumstances, would reasonably expect a
                 disclosure of those facts.
    22
         3
   23
         28CFR§36.302 Modifications in policies, practices, or procedures.
    24
               (a) General. A public accommodatio n shall make reasonable modifications in policies,
    25             practices, or procedures, when the modifications are necessary to afford goods, services,
                   facilities, privileges, advantages, or accommodations to individuals with disabilities,
    26
                   unless the public accommodation can demonstrate that making the mod ifications would
    27             fundamentally a lter the nature of the goods, services, faci lities, privileges, advantages, or
                   accommodations.
    28         (b) .. .
               (c) .. .

                                                          8
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         41. The gist of the requirement of 28CFR§28.302(e) is the requirement that a place of
    2       lodging, such as Defendant Hotel, disclose both the accessible elements but, more

     3      importantly, inaccessible elements of the place of lodging; without a description of

    4       inaccessible mobility elements, Defendant fails to comply with 28CFR§28.302(e) as a

     5      matter of law.
         42. Defendant Hotel was under a duty to disclose both accessible and inaccessible
     6
            elements on its first and third party websites in enough detail to reasonably permit
    7
            individuals w ith disabilities, including the Plaintiff and Class Members, to assess
     8
            independently whether a given hotel or guest room meets his or her accessibility needs
     9
            all as more fully disclosed in Addendum A.
    10
         43. Defe!1dant's disclosure and identification of accessibility and inaccessibility elements
    11
            was insufficiently detailed to reasonably permit individuals w ith disabilities to assess
    12
    13

    14
            (d) ...
    15      (e) (I) Reservations made by places of lodging. A public accommodation that owns, leases
                (or leases to), or operates a place of lodging shall, with respect to reservations made by
    16          any means, including by telephone, in-person, or through a third party-
                (i)      Modify its policies, practices, or procedures to ensure that individuals with
    17                   disabilities can make reservatio ns for accessible guest rooms during the same hours
                         and in the same manne r as individuals who do not need accessible rooms;
    18
                (ii)     Identify and describe access ible features in the hotels and guest rooms offered
    19                   through its reservations service in enough detail to reasonably permit individuals
                         with disabilities to assess independently whether a given hotel or guest room meets
   20                    his or her accessibility needs;
                (iii)    Ensure that accessible guest rooms are held for use by individuals with d isabilities
   21                    until all other guest rooms of that type have been rented and the accessible room
                         requested is the only remaining room of that type;
   22
                (iv)     Reserve, upon request, access ible guest rooms or specific types of guest rooms and
   23                    ensure that the guest rooms requested are blocked and removed from all
                         reservations systems; and
   24           (v)      Guarantee that the specific accessible guest room reserved through its reservations
                         service is held for the reserving customer, regarclJess of whether a specific room is
   25                    held in 'response to reservations made by others.
                (2) Exception. The requireme nts in paragraphs (i ii), (iv), and (v) of this section do not
   26
                      apply to reservations for individual guest rooms or other units not owned or
   27                 substantially controlled by the entity that owns, leases, or operates the overall facility.
                (3) CompUance date. The requirements in this section will apply to reservations made on
   28           or after March 15, 2012.


                                                        9
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             independently whether a given hotel or guest room meets his or her accessibility needs
      2      all as more fully disclosed in Addendum A.

      3   44. Defendant' s third patty and first party booking websites made pa1tial disclosures of

      4      accessibility which were known to Defendant to cause them to be misleading.

      5
          45. The disclosure of accessibiUty and inaccessibility elements were facts basic to the
             transaction of booking a room at the Defendant's Hotel.
      6
          46. The partial disclosure of accessibility on Defendant's third and first patty websites
      7
             created the impression of two interpretations: One that the hotel was fully ADA
      8
             compliant and the other that it was not.
      9
          47. Plaintiff and Class Members have been damaged by the nondisclosure.
     10
          48. Defendant's conduct raises the presumption of conscious indifference to consequences
     11
             of its actions which, in turn, demonstrates wanton or oppressive acts or malice as
     12      implies a spirit of mischief or indifference to civil obligations, or willful misconduct,
     13      entitling Plaintiff and Class Members to an award of punitive damages in an amount
     14      sufficient to deter Defendant and others similarly situated from similar misconduct.
     15
             WHEREFORE, Plaintiff prays for relief as follows:
     16
             A. For class action certification on this Count.
     17
             B. For a finding or liability of Defendant on this Count; and
     18
             C. For damages assessed in favor of Plaintiff and each Class Member in an amount
     19
                 to be determined at trial; and
     20
             D. for punitive damages in an amount sufficient to deter this Defendant and others
     21          similarly situated from similar misconduct; and
     22      E. For costs, fees, expenses and attorney's fees in an amount to be proven; and
    23       F. For such other and fmther relief as the Court may deem just and proper.
     24                                            COUNT TV
                                   (Consumer Fraud - HRS Chapter 480)
    25
    26    9. Plaintiff reallegcs all allegations heretofore set fo1th.

     27   0. HRS §480-2 declares unlawful all unfair or deceptive acts or practices in the conduct

     28     of any trade or commerce.



                                                     10
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          1. Defendanl Hotel com milled unfair and deceptive acts or practices in the conduct of its
      2     lodging business s more fully detailed in Counts I - IV above all of which are by this

      3     reference incorporated herein.

      4   2. Plaintiff and Class Members are "consumers" as this term is defined in HRS §480-1.

      5   3. HRS Chapter 480 is intended not only to protect the persons who actually purchased
            goods or services as a result of unfair and deceptive acts and practices, but also those
      6
            who altempted or were solicited to do so. Zanakis-Pico v. Cutter Dodge, Inc., 47 P.3d
      7
            1222 (Haw. 2002)
      8
          4. Any consumer who is injured by any unfair or deceptive act or practice forbidden or
      9
            declared unlawful by section 480-2:
     10
                (1) May sue for damages sustained by the consumer, and, if the judgment is for the
     11             plaintiff, the plaintiff shall be awarded a sum not less than $1,000 or threefold
                    damages by the plaintiff sustained, whichever sum is the greater, and reasonable
     12             attomey's fees together with the costs of suit; provided that w here the p laintiff
     13             is an elder, the plaintiff, in the altemative, may be awarded a sum not less than
                    $5,000 or threefold any damages sustained by the plaintiff, whichever sum is
     14             the greater, and reasonable attorney's fees together with the costs of suit. ln
                    determining whether to adopt the $5,000 alternative amount in an award to an
     15
                    elder, the court shall consider the factors set forth in section 480-13.5; and
     16
                (2) May bring proceedings to enjoin the unlawful practices, and if the decree is for
     17             the plaintiff, the plainliff shall be awarded reasonable attorney's fees together
     18             with the costs of suit.

     19   55. However, the remedies provided in the preceding paragraphs shall be applied in class
     20      action and de facto class action lawsuits or proceedings, including actions brought on
     21      behalf of direct or indirect purchasers with the following conditions and limitations:

     22         ( 1) The minimum $ l,000 recovery provided in subsections (a) and (b) shall not
                     apply in a class action or a de facto class action lawsuit;
     23
     24         (2) In class actions or de facto class actions where both direct and indirect
                    purchasers are involved, or where more than one class of indirect purchasers
     25             are involved, a defendant shall be entitled to prove as a partial or complete
                    defense to a claim for compensatory damages that the illegal overcharge has
     26
                    been passed on or passed back to others who are themselves entitled to recover
     27             so as to avoid the duplication of recovery of compensatory damages;

     28


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                (3) That portion of threefold damages in excess of compensatory damages shall be
                    apportioned and allocated by the court in its exercise of discretion so as to
      2             promote effective enforcement of this chapter and dete1Tence from violation of
      3             its provisions;

      4         ( 4) In no event shall an indirect purchaser be awarded less than the full measure of
                     compensatory damages attributable to the indirect purchaser;
      5
      6         (5) In any lawsuit or lawsuits in which claims are asserted by both direct purchasers
                    and indirect purchasers, the court is authorized to exercise its discretion in the
      7             app01tionment of damages, and in the transfer and consolidation of cases to
      8             avoid the duplication of the recovery of damages and the multiplicity of suits,
                    and in other respects to obtain substantial fairness;
      9
                (6) In any case in which claims are being asserted by a part of the claimants in a
     10
                    cou11 of this State and another pat1 of the claimants in a cou1t other than of this
     11             State, where the claims arise out of same or overlapping transactions, the cornt
                    is authorized to take all steps reasonable and necessary to avoid duplication of
     12             recovery of damages and multiplicity of suits, and in other respects, to obtain
     13             substantial fairness;

     14         (7) In instances where indirect purchasers file an action and obtain a judgment or
                    settlement prior to the completion of a direct purchaser's action in courts other
     15
                    than this State, the court shall delay disbursement of the damages until such
     16             time as the direct purchaser's suits are resolved to either final judgment, consent
                    decree or settlement, or in the absence of a direct purchaser's lawsuit in the
     17             courts other than this State by direct purchasers, the expiration of the statute of
     18             limitations, or in such manner that will minimize duplication of damages to the
                    extent reasonable and practicable, avoid multiplicity of s uit, and obtain
     19             substantial fairness; and
     20
                (8) ln the event damages in a class action or de facto class action remain unclaimed
     21             by the direct or indirect purchasers, the class representative or the attorney
                    general shall apply to the court and such funds shall escheat to the State upon
     22             showing that reasonable effotis made by the· State to distribute the funds have
     23             been unsuccessful.

     24   56. Plaintiff and Class Members have been damaged by Defendant's unfair and deceptive

     25      acts or practices in the conduct of its lodging business s more fully detailed in Counts

     26      I - IV above all of which are by this reference incorporated herein.
          57. Defendant's conduct raises the presumption of conscious indifference to consequences
     27
             of its actions which, in turn, demonstrates wanton or oppressive acts or malice as
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                implies a spirit of mischief or indifference to c ivil obligalions, or willful misconduct,

      2         entitling Plaintiff and Class Members to an award of punitive damages in an amount

      3         sufficient to deter Defendanl and others similarly situated from similar misconduct.

      4
                WHEREFORE, Plaintiff prays for relief as follows:
      5
                A. For class action certification on this Count.
      6
                B. For a finding of liabilily of Defendant on this Count; and
      7         C. For damages assessed in favor of Plaintiff and each Class Member in an amount
      8             to be determined at trial; and
      9         D. For punitive damages in an amount sufficient to deter this Defendant and others
     10            similarly situated from s imilar misconduct; and

     11         E. For costs, fees, expenses and attorney's fees in an amount to be proven; and

     12         F. For such other and fwther relief as the Court may deem just and proper.

     13                                              COUNT V
                                                (Negligence per se)
     14
          58. Plaintiff realleges all allegations heretofore set forth.
     15
          59. Defcndanthad a duty to Plaintiff to remove ADA accessibility barriers so that Plaintiff
     16
                as a disabled individual would have full and equal access to the public
     17
                accommodation.
     18
          60. Defendant breached this duty.
     19
          61. Defendant is or should be aware that, historically, society has tended to isolate and
     20
                segregate individuals with disabilities, and, despite some improvements, such forms
     21         of discrimination against individuals with disahilities continue to be a serious and
     22         pervasive social problem4 .
     23   62. Defendant knowingly and intentionally participated in this historical discrimination
     24         against Plaintiff, causing Plaintiff damage.

     25   63. Discrimination against individuals with disabilities persists in the use and enjoyment

     26         of critical public accommodations 5 .

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          4
     28       42 U.S.C. § 12101 (a)(2)
          5
              42 U.S.C. §12101(a)(3)

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          64. Defendant's knowing and intentional persistence in discrimination against Plaintiff is
      2       alleged, causing Plaintiff damage.

      3   65. Individuals with disabilities, including Plaintiff, continually encounter various forms

      4       of discrimination, including outright intentional exclusion, the discriminatory effects

      5       of architectural, overprotective rules and policies, failure to make modifications to
              existing facilities and practices, exclusionary qualification standards and criteria,
      6
              segregation, and relegation to lesser services, programs, activities, benefits, jobs, or
      7
              other opportunities 6 •
      8
          66. Defendant's knowing and intentional discrimination against Plaintiff reinforces above
      9
              forms of discrimination, causing Plaintiff damage.
     10
          67. Census data, national polls, and other studies have documented that people with
     11
              disabilities, as a group, occupy an inferior status in our society, and are severely
     12       disadvantaged socially, vocationally, economically, and educationally 7•
     13   68. Defendant's knowing and intentional discrimination has relegated Plaintiff to an
     14       inferior status in society, causing Plaintiff damage.
     15   69. The Nation's proper goals regarding individuals with disabilities are to assure equality
     16       of opportunity, full participation, independent living, and economic self-sufficiency

     17       for such individuals 8 .

     18   70. Defendant's knowing, and intentional discrimination has worked counter to our

     19       Nation's goals of equality, causing Plaintiff damage.
          71. Continued existence of unfair and unnecessary discrimination and prejudice denies
     20
              people with disabilities the opp01tunity to compete on an equal basis and to pursue
     21
              those opportunities for which our free society is justifiably famous, and costs the
     22
              United States billions of dollars in unnecessary expenses resulting from dependency
     23
              and nonproductivity9 .
     24
          72. Defendant's knowing and intentional unfair and unnecessary discrimination against
     25
              Plaintiff demonstrates Defendant's knowing and intentional damage to Plaintiff.
     26
          6
     27     42 U.S.C.   §12101(a)(5)
          7
            42 U.S.C.   § 1210 I (a)(6)
          8
     28     42 U.S.C.   § 1210l (a)(7)
          9
            42 U.S.C.   § 1210t(a)(8)

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         73. Defendant's breach of duty caused Plaintiff damages including, without limitation,

    2       the feeling of segregation, discriminatio n, relegation to second class citizen status the

    3       pain, suffering and emotional damages inherent to discriminatio n and segregation and

    4       other damages to be proven at trial.
         74. By violating Plaintiffs civil rights, Defendant engaged in intentional, aggravated and
    5
            outrageous conduct.
    6
         75. The ADA has been the law of the land since 1991, but Defendant engaged in a
    7
            conscious action of a reprehensibl e character, that is, Defendant denied Plaintiff his
    8
            civil rights, and cause him damage by virtue of segregation, discriminatio n, relegation
    9
            to second class citizen status the pain, suffering and emotional damages inherent to
   IO
            discriminatio n and segregation and other damages to be proven at trial.
   11
         76. Plaintiff and Class Members have been damaged by Defendant's unfair and deceptive
   12       acts or practices in lhe conduct of its lodging business s more fully detailed in Counts
   13       I - 111 above all of which are by this reference incorporated herein.
   14    77. Defendant's con duel raises the presumption of conscious indifference to consequence s
   15       of its actions which, in turn, demonstrates wanton or oppressive acts or malice as

   16       implies a spirit of mischief or indifference to civil obligations, or willful misconduct,

   17       entitling Plaintiff and Class Members to an award of punitive damages in an amount

   18       sufficient to deter Defendant and others similarly situated from similar misconduct.

   19
         WHEREFO RE, Plaintiff prays for relief as follows :
   20
                A. For certification of class action on lhis Count.
   21           B. For finding of negligence; and
   22           C . For damages in an amount to be proven at trial; and
   23           D. For punitive damages to be proven at trial; and
   24           E. For such other and further relief as the Court may deem just and proper.
   25                               REQUEST FOR TRIAL BY JURY

    26          Plaintiff respectfully requests a trial by jury in issues triable by a jury.
    27                                           1
                RESPECTfU LL Y SUBMITTE D this l2 h day of March, 2019.
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